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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division                            r
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YUSELF MUHAMMAD f/k/a BRUCE WILLIAMS,                                            e&:EflK. U.S. DISTRICT COURT
                                                                                        RICHMOND VA

        Petitioner,
V.
                                                                   Civil Action No. 3:16CV802
HAROLD W. CLARKE,

        Respondent.

                                MEMORANDUM OPINION

        Yuself Muhammad, formerly known as Bruce Williams, a Virginia state pnsoner

proceeding prose, brings this petition pursuant to 28 U.S.C. § 2254 ("§ 2254 Petition," ECF

No. I) challenging his 2013 conviction in the Circuit Court of the City of Portsmouth, Virginia

("Circuit Court"). Muhammad argues that he is entitled to relief on the following grounds:

        Claim One:    "[His] Fifth Amendment right against self-incrimination was violated
                      when the police ignored [his] requests for an attorney prior to soliciting a
                      statement that was later used against [him]." 1 (§ 2254 Pet. 3.)

        Claim Two:    "The evidence was . . . insufficient as a matter of law to support a
                      conviction of second-degree murder beyond a reasonable doubt[] . . .
                      [because his] substantial right to due process was violated when the trial
                      court rejected the mental health expert's testimony that [he] suffered from
                      disorders that would otherwise have excused criminal liability." (Id. at 6.)

Respondent moves to dismiss ("Motion to Dismiss," ECF No. 15),2 arguing that Muhammad's

claims lack merit. Muhammad has responded. For the reasons set forth below, the Motion to

Dismiss (ECF No. 15) will be GRANTED and the § 2254 Petition (ECF No. I) will be DENIED.

1
  The Court corrects the spelling, punctuation, and capitalization in the quotations from
Muhammad's submissions. The Court employs the pagination assigned by the CM/ECF
docketing system for citations to Muhammad's submissions.
2
 The Court notes that pages IO and 11 of Respondent's Brief in Support of Motion to Dismiss
and Rule 5 Answer were not included in the submission docketed on CM/ECF. (ECF No. 17.)
However, the omission of these pages does not alter the Court's analysis as set forth herein.
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                              I.     PROCEDURAL HISTORY

        After a bench trial, Muhammad was convicted of second-degree murder, and was

sentenced to forty years of incarceration. (ECF No. 17-1, at 1.)

        Muhammad appealed, raising the following two assignments of error that are relevant

here:

        1.     "The trial court erred in denying Defendant's motion to suppressO Defendant's
               statement because the police did not stop the interrogation of Defendant after he
               requested to speak with an attorney in violation of Defendant's Fifth and
               Fourteenth Amendment right to counsel."

        2.     "The trial court erred in finding Defendant guilty of second degree murder and in
               not finding Defendant not guilty by reason of insanity, because Defendant acted
               out of an irresistible impulse when he killed Carroll."

Petition for Appeal 14, Williams v. Commonwealth, No. 0502-13-1 (Va. Ct. App. filed on Aug.

23, 2013) (capitalization corrected). The Court of Appeals of Virginia denied the petition for

appeal. (ECF No. 17-2, at 1.) A three-judge panel also denied the petition for appeal. Williams

v. Commonwealth, No. 0502-13-1, at 1 (Va. Ct. App. Feb. 14, 2014).             Subsequently, the

Supreme Court of Virginia refused the petition for appeal. (ECF No. 17-3, at 1.)

        On October 6, 2015, Muhammad filed a petition for a writ of habeas corpus in the Circuit

Court, raising two claims that were similar to those he raised on direct appeal. Petition for Writ

of Habeas Corpus Attach. 2(A), 3(8), Muhammad v. Clarke, No. 15-3655 (Va. Cir. Ct. filed Oct.

6, 2015). On October 6, 2016, the Circuit Court dismissed Muhammad's petition, concluding

that his claims were barred in habeas corpus because he had raised the same claims on direct

appeal. Muhammad v. Clarke, No. 15-3655, at 2-3 (Va. Cir. Ct. Oct. 6, 2016) (citing Henry v.

Warden, 265 Va. 246, 249, 576 S.E.2d 495, 496 (2003)). Muhammad did not appeal the

dismissal of his state habeas petition. On September 28, 2016, the Court received the instant

§ 2254 Petition.

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        II.   APPLICABLE CONSTRAINTS UPON FEDERAL HABEAS REVIEW

        In order to obtain federal habeas relief, at a minimum, a petitioner must demonstrate that

he is "in custody in violation of the Constitution or laws or treaties of the United States.''

28 U.S.C. § 2254(a). The Antiterrorism and Effective Death Penalty Act ("AEDPA'') of 1996

further circumscribed this Courf s authority to grant relief by way of a writ of habeas corpus.

Specifically, "[s]tate court factual determinations are presumed to be correct and may be rebutted

only by clear and convincing evidence." Gray v. Branker, 529 F.3d 220, 228 (4th Cir. 2008)

(citing 28 U.S.C. § 2254(e)(l)). Additionally, under 28 U.S.C. § 2254(d), a federal court may

not grant a writ of habeas corpus based on any claim that was adjudicated on the merits in state

court unless the adjudicated claim:

         (1) resulted in a decision that was contrary to, or involved an unreasonable
         application of, clearly established Federal law, as determined by the Supreme
         Court of the United States; or

         (2) resulted in a decision that was based on an unreasonable determination of the
         facts in light of the evidence presented in the State court proceeding.

28 U.S.C. § 2254(d). The Supreme Court has emphasized that the question "is not whether a

federal court believes the state court's determination was incorrect but whether that

determination was unreasonable--a substantially higher threshold." Schriro v. Landrigan, 550

U.S. 465,473 (2007) (citing Williams v. Taylor, 529 U.S. 362,410 (2000)).

                                       III.    ANALYSIS

         In Muhammad's instant § 2254 Petition, he raises two claims.         (§ 2254 Pet. 3-9.)

Muhammad raised nearly identical claims on direct appeal and in his state habeas petition.3

(ECF No. 17-2, at 1-6); Petition for Writ of Habeas Corpus Attach. 2(A), 3(B), Muhammad v.

3
  The Court notes that Respondent does not present any argument to the contrary. Specifically,
Respondent states that "Petitioner's claims have been exhausted because he presented them to
the Supreme Court of Virginia on direct appeal." (Mem. Supp. Mot. Dismiss 4, ECF No. 17.)

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Clarke, No. 15-3655 (Va. Cir. Ct. filed Oct. 6, 2015). On direct appeal, the Court of Appeals of

Virginia denied Muhammad's petition for appeal (ECF No. 17-2, at 1), and the Supreme Court

of Virginia refused the petition for appeal (ECF No. 17-3, at 1). Muhammad's state habeas

petition was dismissed on the ground that he had raised his claims on direct appeal, and

therefore, his claims were barred in habeas corpus. Muhammad v. Clarke, No. 15-3655, at 2

(Va. Cir. Ct. Oct. 6, 2016).

       The decision of the Court of Appeals of Virginia was the last reasoned state court

decision addressing these claims, and its reasoning is imputed to the Supreme Court of Virginia,

which refused further review without discussion of the claims. See nst v. Nunnemaker, 501 U.S.

797, 803 (1991). For the reasons set forth below, the Court discerns no unreasonable application

of the law and no unreasonable determination of the facts in the Court of Appeals of Virginia's

rejection of Muhammad's claims. See 28 U.S.C. § 2254(d)(l)-(2).

       A.      Claim One

       In Claim One, Muhammad contends that his "Fifth Amendment right against self-

incrimination was violated ... [because] the police ignored [his] requests for an attorney prior to

soliciting a statement that was later used against [him]." (§ 2254 Pet. 3.)

       "In Miranda v. Arizona, the [Supreme] Court determined that the Fifth and Fourteenth

Amendments' prohibition against compelled self-incrimination required that custodial

interrogation be preceded by advice to the putative defendant that he has the right to remain

silent and also the right to the presence of an attorney." Edwards v. Arizona, 451 U.S. 477, 481-

82 (1981) (quoting Miranda v. Arizona, 384 U.S. 436, 479 (1966)).             During a custodial

interrogation, if a defendant "requests counsel at any time during the interview, he is not subject

to further questioning until a lawyer has been made available or the suspect himself reinitiates



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conversation." Davis v. United States, 512 U.S. 452, 458 (1994) (citing Edwards, 451 U.S. at

484-85). When applying this rule, "courts must determine whether the accused actually invoked

his right to counsel." Smith v. Illinois, 469 U.S. 91, 95 (1984). "Invocation of the Miranda right

to counsel 'requires, at a minimum, some statement that can reasonably be construed to be an

expression of a desire for the assistance of an attorney."' Davis, 512 U.S. at 459 (quoting

McNeil v. Wisconsin, 501 U.S. 171, 178 (1991)). "[I]f a suspect makes a reference to an attorney

that is ambiguous or equivocal in that a reasonable officer in light of the circumstances would

have understood only that the suspect might be invoking the right to counsel, [Supreme Court]

precedents do not require the cessation of questioning." Id (citations omitted). That is, "the

suspect must unambiguously request counsel[] ... 'a statement either is such an assertion of the

right to counsel or it is not."' Id (quoting Smith, 469 U.S. at 97-98).

       Muhammad raised this claim on direct appeal to the Court of Appeals of Virginia. In

finding that this claim lacked merit, the Court of Appeals of Virginia aptly summarized the facts

related to Muhammad's questioning by police officers:

               Before Detectives Funkhouser and Branch questioned appellant about the
       death of Linda Carroll, Funkhouser advised appellant of his rights under Miranda
       v. Arizona, 384 U.S. 436 (1966). Appellant indicated he understood his rights.
       Appellant then discussed with the officers at length his recollections about the day
       Carroll, who had lived in appellant's building, was killed, his history of drug use,
       and treatment for mental health issues. Appellant denied having anything to do
       with Carroll's death. Funkhouser asked why appellant's DNA was at the crime
       scene and what had happened to Carroll. The following exchange then occurred:
               Appellant: Can I ask you a question? Can I be represented by an
               attorney? Because if it's going to be like that, I have to talk to
               my-I'm not one just-you know, I don't carry any information
               like that unless I talk to somebody, and I find out what's going on.
               Funkhouser: I'm trying to tell you what's going on.
               Appellant: I ain't telling you nothing like that, but I don't-I
               don't-
       After a pause, Funkhouser showed appellant a photograph of a murder victim
       other than Carroll. Branch asked appellant to help them understand what



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         happened. Appellant then went on to state that he heard voices that told him to
         kill people and admitted that he had killed Carroll.

(ECF No. 17-2, at 2-3.)

         The Court of Appeals of Virginia summarized the applicable law as follows: 4

                         The Supreme Court held in Miranda v. Arizona, 384 U.S.
                436, 469-73 (1966), that the police must inform a suspect, who is
                subject to a custodial interrogation, of his right to an attorney and
                his right to have that attorney present during the interrogation. The
                police must explain these rights to the suspect before the
                interrogation begins. If a suspect waives his right to counsel after
                he has received Miranda warnings, the police officers are free to
                interrogate him, but if the suspect requests counsel at any time
                during the interrogation, the interrogation must cease until an
                attorney has been made available to the suspect or the suspect
                reinitiates the interrogation. Edwards v. Arizona, 451 U.S. 477,
                484-85 (1981); accord Davis v. United States, 512 U.S. 452, 458
                (1994); McNeil v. Wisconsin, 501 U.S. 171, 176-77 (1991);
                Minnick v. Mississippi, 498 U.S. 146, 150 (1990); Pallerson v.
                Illinois, 487 U.S. 285, 291 (1988); Arizona v. Roberson, 486 U.S.
                675, 680-81 (1988).
         Commonwealth v. Redmond, 264 Va. 321,328,568 S.E.2d 695,698 (2002).
                The question whether a suspect actually invoked his right to
                counsel involves an objective inquiry. To invoke this right, a
                suspect must state his desire to have counsel present with sufficient
                clarity that a reasonable police officer under the circumstances
                would understand the statement to be a request for counsel. If,
                however, a suspect's reference to an attorney is either ambiguous
                or equivocal, such that a reasonable officer under the
                circumstances would only have understood that the suspect might
                be invoking his right to counsel, the officer is not required to stop
                questioning the suspect.
         Commonwealth v. Hilliard, 270 Va. 42, 49, 613 S.E.2d 579, 584 (2005) (citations
         omitted).

(Id at 1-2.) Applying the applicable law to the facts of Muhammad's case, the Court of Appeals

of Virginia aptly concluded:

                 The trial court determined that appellant's questions and the comments
         that followed did not constitute an unequivocal request for counsel. In order to
4
  The Court notes that the Court of Appeals of Virginia's opinion includes citations to many of
the cases discussed in this Memorandum Opinion. For clarity, the Court does not alter the
citations in the quoted portions of the Court of Appeals of Virginia's opinion.

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       determine whether a statement is sufficiently clear, unambiguous, and
       unequivocal to constitute an effective invocation of a suspect's right to counsel,
       we must consider the words the suspect actually used, as well as the context in
       which he spoke those words. Hilliard, 270 Va. at 50, 613 S.E.2d at 585. We do
       not consider any subsequent statements made by the suspect to determine whether
       his alleged invocation was ambiguous. Smith v. Illinois, 469 U.S. 91, 97 (1984).
       Rather, we look only to the alleged "request for counsel [and] the circumstances
       leading up to [that] request." Id at 98.
               In Zektaw v. Commonwealth, 278 Va. 127, 136-37, 677 S.E.2d 49, 54
       (2009), the Virginia Supreme Court stated,
                       Since Miranda and Edwards, we have reviewed several
               cases to determine whether a defendant's statement clearly,
               unambiguously, and unequivocally invoked his right to counsel. In
               some cases the defendants' statements were determined to be
               questions seeking clarification of their rights. See Hilliard, 270
               Va. at 51, 613 S.E.2d at 585 ('"Can I have someone else present
               too, I mean just for my safety, like a lawyer like y'all just said?"'
               was not an unequivocal request for counsel), Commonwealth v.
               Redmond, 264 Va. 321, 330, 568 S.E.2d 695, 700 (2002), cert.
               denied, 538 U.S. 930 (2003) ('"Can I speak to my lawyer? I can't
               even talk to [a] lawyer before I make any kinds of comments or
               anything?,' were not a clear and unambiguous assertion of his right
               to counsel"); Mueller v. Commonwealth, 244 Va. 386, 396, 422
               S.E.2d 380, 387 (1992), cert. denied, 507 U.S. 1043 (1993) ("'Do
               you think I need an attorney here?"' did not constitute a request for
               counsel); Eaton v. Commonwealth, 240 Va. 236, 250, 252, 397
               S.E.2d 385, 393, 395 (1990), cert. denied, 502 U.S. 824 (1991)
               ("You did say I could have an attorney if I wanted one?" was
               equivocal); and Poyner v. Commonwealth, 229 Va. 401, 410, 329
               S.E.2d 815, 823, cert. denied, 474 U.S. 865 (1985) ("'Didn't you
               say I have the right to an attorney?' . . . was not a request for
               counsel ... [a]t most, it sought to clarify one of the rights of which
               he had already been advised").

(Id. at 3 (alteration in original).) The Court of Appeals of Virginia explained that "[t]he facts

support the trial court's finding that appellant's questions and comments were not an

unequivocal request for counsel. Like in Hilliard, appellant's communications were seeking

clarification of his rights, rather than advising the police that he was invoking his right to

counsel." (Id at 3-4.)




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       Upon review of the Court of Appeals of Virginia's decision and the record in this case,

the Court discerns no unreasonable application of the law and no unreasonable determination of

the facts. See 28 U.S.C. § 2254(d)(l)-(2). The record shows that the Circuit Court held a

hearing on Muhammad's motion to suppress his statements to police officers. (June 26, 2012 Tr.

3-25.) At the hearing, Muhammad argued that he had invoked his right to counsel, and that the

police officers had ignored this request and improperly continued questioning him. (June 26,

2012 Tr. 3.) The Circuit Court denied the motion to suppress, finding that Muhammad's

statement was "not a clear, unequivocal and unambiguous request for an attorney." (June 26,

2012 Tr. 24-25.) On direct appeal, the Court of Appeals of Virginia reviewed the Circuit

Court's ruling, and concluded that Muhammad's questions and comments about counsel were

"not an unequivocal request for counsel." (ECF No. 17-2, at 3.)

       Based on the Court's review of the record in this case, including the suppression hearing

transcript and trial transcript, the record shows that during the exchange between Muhammad

and the police officers, Muhammad asked questions and made comments regarding counsel.

(See ECF No. 17-2, at 2-3.) Although Muhammad referenced counsel in his questions and

comments to the police officers, a suspect's ambiguous reference to counsel, which does not

clearly invoke the suspect's right to counsel, does not require police officers to cease questioning

the suspect. See Davis, 512 U.S. at 459. Therefore, upon review of the record and the decision

of the Court of Appeals of Virginia, the Court does not discern an unreasonable application of

the above-cited United States Supreme Court precedent or an unreasonable determination of the

facts. Accordingly, Claim One lacks merit and will be DISMISSED.




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          B.     Claim Two

          In Claim Two, Muhammad contends that the evidence was insufficient to convict him of

second-degree murder because the Circuit Court violated his "substantial right to due process[5]

... when the trial court rejected the mental health expert's testimony that [he] suffered from

disorders that would otherwise have excused criminal liability." 6 (§ 2254 Pet. 6.)

          A federal habeas petition warrants relief on a challenge to the sufficiency of the evidence

only if "no rational trier of fact could have found proof of guilt beyond a reasonable doubt."

Jackson v. Virginia, 443 U.S. 307, 324 (1979). The relevant question in conducting such a

review is whether, "after viewing the evidence in the light most favorable to the prosecution, any

rational trier of fact could have found the essential elements of the crime beyond a reasonable

doubt." Id. at 319 (citing Johnson v. Louisiana, 406 U.S. 356, 362 (1972)). The critical inquiry

on review of the sufficiency of the evidence to support a criminal conviction is "whether the

record evidence could reasonably support a finding of guilt beyond a reasonable doubt.'' Id.

at 318.
5
  The Court notes that, with respect to Muhammad's use of the words "due process," "[a]ny
challenge to the sufficiency of the evidence to convict in a state prosecution is necessarily a due
process challenge to the conviction." West v. Wright, 931 F.2d 262, 266 (4th Cir. 1991)
(citations omitted), rev'd on other grounds, 505 U.S. 277 (1992). To the extent that Muhammad
attempts to assert a separate due process claim, such a cursory statement is too vague to allege
any new claim.
6
  In the context of addressing the timeliness of his § 2254 Petition, Muhammad presents an
actual innocence argument. (§ 2254 Pet. 11-12.) Specifically, Muhammad states: "I am
arguing that the statute of limitations, which is a procedural bar to the consideration of this
petition, does not apply due to my claim that I am actually innocent of the crime for which I was
convicted[] [b]ecause I was legally insane ...." (Id at 11.) The Court notes that, contrary to
Muhammad's assertion that his§ 2254 petition is untimely, Muhammad timely filed his instant
§ 2254 Petition. Furthermore, to the extent that Muhammad seeks to raise a separate actual
innocence claim, the United States Supreme Court does not recognize actual innocence as a
stand-alone claim. See McQuiggin v. Perkins, 133 S. Ct. 1924, 1931 (2013) (citing Herrera v.
Collins, 506 U.S. 390, 404-05 (1993)). Additionally, as set forth herein, to the extent that
Muhammad argues that the evidence was insufficient to convict him because he was legally
insane, that argument lacks merit.

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          In finding that this claim lacked merit, the Court of Appeals of Virginia aptly

summarized the evidence of Muhammad's guilt as follows:

                  The police found Carroll stabbed to death in her Portsmouth apartment on
          February 25, 2011. Carroll had been stabbed thirty-four times. A broken knife
          blade remained in her chest. Appellant's fingerprints were found in the
          apartment, and his DNA was on Carroll's body.
                  When interviewed by the police, appellant said he went to Carroll's
          apartment alone and unarmed. Appellant lived in Carroll's building, and he
          occasionally ran errands for her. He pried open the door using a credit card. He
          obtained two knives from Carroll's kitchen. He then attacked Carroll as she slept.
          Afterward, he tried to clean the scene. He went down to his own apartment,
          washed his hands, and changed clothes. He left the apartment and walked around
          downtown. He threw away the clothing he had worn during the attack. Appellant
          also said he heard voices and that an alternate personality was involved in the
          incident.
                  Dr. Evan Nelson testified on appellant's behalf as an expert in the field of
          forensic mental health. Nelson had interviewed appellant twice. He reviewed the
          documents and mental health treatment records relating to appellant. Nelson
          diagnosed appellant with ··dissociative disorder not otherwise specified."[7]
          Nelson opined that while appellant was not legally insane under the M'Naghten
          test, he nonetheless had been acting pursuant to an irresistible impulse when he
          killed Carroll.
                  Dr. Thomas Sugden, an expert in the field of clinical psychology,
          evaluated appellant on two different occasions and reviewed documents and
          mental health treatment records relating to appellant. Sugden opined that
          appellant did not have dissociative identity disorder or multiple personality
          disorder. Sugden concluded that appellant was not legally insane at the time of
          the offense.

(ECF No. 17-2, at 4-5.) With respect to Muhammad's insanity defense, the Court of Appeals of

Virginia summarized the applicable law as follows:

          "In Virginia . . . insanity is an affirmative defense that the defendant must
          establish to the satisfaction of the fact finder." Morgan v. Commonwealth, 50 Va.
          App. 120, 126, 646 S.E.2d 901, 902 (2007) (quoting Shifflett v. Commonwealth,
          221 Va. 760,769,274 S.E.2d 305,310 (1981)).
                  [U]nder the M'Naghten test for insanity, recognized in Virginia,
                  the defendant may prove that at the time of the commission of the
                  act, he was suffering from a mental disease or defect such that he
                  did not know the nature and quality of the act he was doing, or, if
                  he did know it, he did not know what he was doing was wrong.
          White v. Commonwealth, 212 Va. 619, 625, 636 S.E.2d 353, 356 (2006).
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    See, e.g., Jan. 22, 2013 Trial Tr. 158, 220.

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               In addition [the Virginia Supreme Court has] approved in
               appropriate cases the granting of an instruction defining an
               "irresistible impulse" as a form of legal insanity. See, e.g.,
               Thompson v. Commonwealth, 193 Va. 704, 717, 70 S.E.2d 284,
               292 (1952). "The irresistible impulse doctrine is applicable only to
               that class of cases where the accused is able to understand the
               nature and consequences of his act and knows it is wrong, but his
               mind has become so impaired by disease that he is totally deprived
               of the mental power to control or restrain his act." Id. at 718, 70
               S.E.2d at 292.
       Orndorff v. Commonwealth, 279 Va. 597, 601 n.5, 691 S.E.2d 177, 179 n.5
       (2010).

(Id at 4 (alteration in original).) As to the irresistible impulse defense, the Court of Appeals of

Virginia summarized this defense as follows:

               In the context of the irresistible impulse defense, the Virginia Supreme
       Court has noted that "[t]he word 'impulse' implies that which is sudden,
       spontaneous, unpremeditated." Rollins v. Commonwealth, 207 Va. 575, 580, 151
       S.E.2d 622, 625 (1966) . . . . "Acting on an impulse involves no planning; it
       could occur at any place in the presence of anyone, and further, the lack of
       restraint inherent in an impulsive act is inconsistent with a contemporaneous
       concealment of the impulsive act." Vann v. Commonwealth, 35 Va. App. 304,
       314, 544 S.E.2d 879, 883 (2001). In Vann, this Court found that a defendant's
       actions in "methodically tr[ying] to conceal the contraband on both occasions
       immediately after he realized he was being observed by a police officer" were
       "inconsistent with the notion of an individual having no mental power or control
       over his or her own conduct." Id

(Id at 5 (alterations in original).) In finding that sufficient evidence supported the Circuit

Court's determination that Muhammad was not legally insane at the time of the offense, the

Court of Appeals of Virginia explained:

               Where credible evidence supports the trial court's determination on the
       issue of insanity, the ruling should not be disturbed on appeal. See Boblett v.
       Commonwealth, 10 Va. App. 640, 652, 396 S.E.2d 131, 137 (1990). Moreover,
       "[t]he [fact finder] has a right to weigh the testimony of all the witnesses, experts
       and otherwise." Walrod v. Matthews, 210 Va. 382, 390, 171 S.E.2d 180, 186
       (1969) (quoting Pepsi-Cola Bottling Co. of Norfolk v. McCullers, 189 Va. 89, 99,
       52 S.E.2d 257,261 (1949)).
               We find credible evidence supported the trial court's conclusion that
       appellant was not acting under an irresistible impulse when he killed Carroll.
       Appellant was able to relate a very clear recollection about how he entered


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        Carroll's apartment and killed her. After gaining entry, he armed himself with
        knives. He attacked Carroll as she slept. Appellant tried to conceal what he had
        done after the killing by cleaning the scene and himself and disposing of the
        clothing he had worn. The trial court was thus entitled to accept Sugden' s
        opinion, find appellant had not acted through an irresistible impulse, and conclude
        beyond a reasonable doubt that appellant was guilty of second-degree murder.

(Id at 5-6 (alterations in original).)

        The Court discerns no unreasonable application of the law and no unreasonable

determination of the facts. See 28 U.S.C. § 2254(d)(l)-(2). Despite Muhammad's argument to

the contrary, the evidence was sufficient for any rational factfinder to reject Muhammad's

insanity defense. As the Virginia Court of Appeals summarized in its decision, with respect to

an insanity defense, "Virginia law recognizes two tests by which an accused can establish

criminal insanity, the M'Naghten Rule and the irresistible impulse doctrine." Reid v. True, 349

F.3d 788, 802 (4th Cir. 2003) (quoting Bennett v. Commonwealth, 511 S.E.2d 439,446 (Va. Ct.

App. 1999)). "The M'Naghten Rule requires the defendant to prove that, because of a disease of

the mind, he either did not know the nature and quality of his act or did not know that the act was

wrong."    Id. (citing Price v. Commonwealth, 323 S.E.2d 106, 108-10 (Va. 1984)).              "The

irresistible impulse defense is available when the accused's mind has become so impaired by

disease that he is totally deprived of the mental power to control or restrain his act." Id. (quoting

Bennett, 511 S.E.2d at 447). As to the irresistible impulse defense, "[i]mpulsivity is the essence

of this definition of insanity; planning or deliberative conduct is inconsistent with the defense."

Id. (citing Vann v. Commonwealth, 544 S.E.2d 879,883 (Va. Ct. App. 2001)).

        Here, two mental health experts, Dr. Evan Nelson and Dr. Thomas Sugden, testified

during Muhammad's trial regarding Muhammad's mental state at the time of the attack. (Jan.

22, 2013 Trial Tr. 111-217.) The Court of Appeals of Virginia aptly summarized the experts'

testimony in its opinion, explaining that Dr. Sugden testified that Muhammad "did not have


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dissociative identity disorder or multiple personality disorder ... [and] was not legally insane at

the time of the offense." (ECF No. 17-2, at 5.) Dr. Nelson testified that Muhammad "was not

legally insane under the M'Naghten test, [but] he nonetheless had been acting pursuant to an

irresistible impulse when he killed Carroll." (Id) As to the evidence of his guilt presented at

Muhammad's trial, a forensic expert testified that Muhammad's fingerprints were present at the

scene of the offense. (Jan. 22, 2013 Trial Tr. 68). A second forensic expert testified regarding

the presence of Muhammad's DNA at the scene of the offense. (Jan. 22, 2013 Trial Tr. 81.)

Additionally, Detective Funkhouser testified that Muhammad had admitted to killing the victim

and had described his attempt to clean the scene of the offense and to dispose of the clothing he

had worn during the attack.      (Jan. 22, 2013 Trial Tr. 89-90, 96.)        Despite Dr. Nelson's

conclusion that Muhammad was acting under an irresistible impulse at the time of the offense,

the Circuit Court found that there was sufficient evidence as to Muhammad's deliberative

conduct to show that the irresistible impulse defense did not excuse criminal liability in

Muhammad's case.

       Based on the Court's review of the testimony from the mental health experts and the

evidence regarding Muhammad's deliberative conduct, including his attempt to conceal the

attack by cleaning the scene and throwing away his clothing, the evidence was sufficient for any

rational factfinder to reject Muhammad's insanity defense. Furthermore, setting aside the issue

as to whether Muhammad suffered from disorders that would excuse his criminal liability, the

evidence presented at trial was sufficient for any rational factfinder to convict Muhammad.

Specifically, Muhammad admitted to killing the victim, and his fingerprints and DNA were

found at the scene of the offense.         Thus, after reviewing the evidence and credibility

determinations "in the light most favorable to the prosecution, [a] rational trier of fact could have



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found the essential elements of the crime beyond a reasonable doubt." Jackson, 443 U.S. at 319

(citing Johnson, 406 U.S. at 362).        Accordingly, Claim Two lacks merit and will be

DISMISSED.

                                    IV.    CONCLUSION

       For the foregoing reasons, Respondent's Motion to Dismiss (ECF No. 15) will be

GRANTED. Muhammad's claims will be DISMISSED, and his§ 2254 Petition (ECF No. I)

will be DENIED.     The action will be DISMISSED.       A certificate of appealability will be

DENIED.

       An appropriate Final Order shall issue.

                                                         Roderick C. Young
Date: February.&_, 2018                                  United States Magistrate J dge
Richmond, Virginia




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